Case 2:03-cv-02244-SH|\/| Document 61 Filed 05/16/05 Page 1 of S>Q;age|D 83

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IN THE UNiTED sTATEs DISTRICT CoURT ‘
FoR THE WESTERN DisTRlCT oF TENNES§=§,BA\§ \ 5 m g= 1 g

WESTERN DIVISION

 

 

MICHAEL LUSTER,
Plaintiff,
VS. NO. 03-2244-1\/[3,
ML TENNESSEE APARTMENTS, LP,
and EQUITY RESIDENTIAL PROPERTIES
MANAGEMENT CORPORATION,

Defend ants.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the May 13, 2005, motion for admission pro hac vice of Christopher
T. Byrd. Mr. Byrd is a member in good standing of the bars of the States of Georgia and
Nevada. l\/lr. Byrd has obtained and is familiar with the local rules and professional guidelines of
this court.

For good cause shown, the motion is granted and Christopher T. Byrd is admitted to
participate in this action as counsel for defendant Equity Residential Properties Management
Corporation.

n is 50 oRDERED this i$y"day ofMay, 2005.

y/»Wz___._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

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UNITED STATES ISTRIC COURT - WESTERN DISITRCT 0 TNNESSEE

   

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This notice confirms a copy of the document docketed as number 61 in
case 2:03-CV-02244 Was distributed by faX, mail, or direct printing on
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Case 2:03-cv-02244-SH|\/| Document 61 Filed 05/16/05 Page 3 of 3 Page|D 85

Honorable Samuel Mays
US DISTRICT COURT

